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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAMON SMITH,

             Plaintiff,
      V.                                       3:20-CV-00580
                                               (JUDGE MARIANI)
CLUB EXPLORIA LLC, d/b/a
POCONO MOUNTAIN VILLAS,

             Defendant.

                                        ORDER

                                AY OF SEPTEMBER 2021, for the reasons set forth in

this Court's accompanying Memorandum Opinion, upon consideration of Plaintiffs Motion to

Compel Non-Party Compliance with Subpoena Pursuant to Federal Rule of Civil Procedure

45 (Doc. 29), IT IS HEREBY ORDERED THAT:

      1. The Motion to Compel Non-Party Compliance is DENIED.




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                                            United States District Judge
